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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

  Case No. CV 20-10051 MWF (PVCx)            Date: June 28, 2022
  Title:   James Shayler v. MMWH Group LLC et al.

  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

             Deputy Clerk:                              Court Reporter:
             Rita Sanchez                               Not Reported

             Attorneys Present for Plaintiff:           Attorneys Present for Defendant:
             None Present                               None Present

  Proceedings (In Chambers): ORDER DENYING PLAINTIFF’S MOTION FOR
                             SUMMARY JUDGMENT [85]

         Before the Court is Plaintiff James Shayler’s Motion for Summary Judgment
  (the “Motion”), filed on May 19, 2022. (Docket No. 85). Defendants Wasim Hamad
  and MMWH Group LLC filed an Opposition on June 6, 2022. (Docket No. 86).
  Plaintiff filed a Reply on June 13, 2022. (Docket No. 88).

         The Motion was noticed to be heard on June 27, 2022. The Court read and
  considered the papers on the Motion and deemed the matter appropriate for decision
  without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. The hearing was
  therefore VACATED and removed from the Court’s calendar. Vacating the hearing
  was also consistent with General Order 21-08 and Order of the Chief Judge 21-124
  arising from the COVID-19 pandemic.

         In this action, Plaintiff brings multiple claims under the Americans with
  Disabilities Act (“ADA”) against Defendants, the owners and operators of a small
  grocery store named “Balcom’s Market” (the “Property”). (See generally Third
  Amended Complaint (“TAC”) (Docket No. 56)). Plaintiff, a disabled individual,
  claims that he encountered various barriers on the Property that interfered with his
  ability to use and enjoy the goods and services offered. (Id.).

         Defendants oppose the Motion on the basis that it is premature. The discovery
  cut-off in this action is set for July 29, 2022, yet Plaintiff filed this Motion on May 19,
  2022. Defendants have still not deposed Plaintiff, and Defendants claim that there are
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

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  various discovery issues that remain unresolved. Conversely, Plaintiff argues that
  Defendants manufactured these discovery issues to avoid summary judgment.

         The Court will not address either party’s arguments related to discovery conduct
  unless a discovery motion is before the Court. Simply put, the discovery period has
  not closed, and discovery issues remain unresolved. Ruling on a motion for summary
  judgment at this stage in the action would be premature. Bellah v. Am. Airlines, Inc.,
  No. CIV.S-080066FCDGGH, 2008 WL 2875449, at *1 (E.D. Cal. July 23, 2008) (“A
  party must have an adequate opportunity to develop his claims through discovery
  before summary judgment is appropriate.”) (quotation omitted).

        Accordingly, the Motion is DENIED without prejudice.

        IT IS SO ORDERED.




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